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EXHIBIT A

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ANDREW M. WAGLEY
(509) 795-4239 - awagley@ettermcmahon.com
618 West Riverside Avenue, Suite 210 - Spokane, WA 99201

EDUCATION
Gonzaga University School of Law Spokane, WA
Juris Doctor, summa cum laude, May 2015
Class Rank: 8/118
3.65 GPA
e Gonzaga Law Review, Associate Editor
e Academic Resources Program Tutor: Spring 2014
e Student Bar Association Honor Code Council Member: 2014-2015
e CALI Excellence for the Future Awards (Highest Grade in Class): Criminal Law,
Professional Responsibility, Constitutional Law I, Legal Research & Writing IV,
and Foundations of Appellate Law
University of Washington Seattle, WA
Michael G. Foster School of Business
B.A. in Business Administration, Accounting Concentration, December 2011
3.8 GPA, cum laude
WORK EXPERIENCE
Etter, McMahon, Lamberson,
Van Wert & Oreskovich, P.C. Spokane, WA
Member / Attorney at Law
March 2016 — Present
Represent clients in litigation matters involving commercial / business litigation, criminal
defense, select personal injury, and other complex litigation. Tried several jury trials,
successfully litigated multiple dispositive motions, and argued in front of Division ITI of
the Court of Appeals resulting in reversal in favor of client. Communicate effectively with
co-workers and supervise associate attorneys and legal interns.
Judge Robert Lawrence-Berrey,
Division III of the Court of Appeals of Washington Spokane, WA
Law Clerk
September 2015 — February 2016
Drafted research memoranda regarding legal issues raised on appeal, summarize arguments
presented by parties, and scour record for relevant facts. Develop strategy on judicial
decision-making with Judge.
VOLUNTEER ACTIVITY
Criminal Justice Act (CJA) Spokane, WA
Panel Attorney

{01024634}

August 2022 — Present

Appointed by United States District Court for the Eastern District of Washington to
represent indigent defendants in federal criminal prosecutions. Participation is not
completely pro bono, but at a substantially reduced hourly rate.
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Spokane County Bar Association Spokane, WA
Trustee

August 2020 — June 2022

Participated in Spokane County Bar Association (SCBA) Board Meetings, assisted in
developing strategic direction of organization, and addressed emerging legal issues
(including systemic racism and ethical obligations) and needs of SCBA membership.

Spokane County Bar Association

Young Lawyers Division Spokane, WA
President

August 2019 — June 2020

Led SCBA Young Lawyers Division (YLD) Board Meetings, developed direction of
organization and community service events, and maintained collegial relationship with
YLD membership to grow participation.

Spokane County Bar Association

Young Lawyers Division Spokane, WA
Trustee

August 2017 — June 2019

PUBLICATIONS AND PRESENTATIONS

Mortgage Brokers and Washington’s Independent Duty Doctrine, GONZAGA LAW REVIEW
ONLINE (Published November 3, 2015).

Mental Health Professionals Now Subject to Expanding Tort Liability, NW SIDEBAR
(Published March 27, 2017).

Prejudgment Writs and Remedies, PRE-AND POST-JUDGMENT REMEDIES CONTINUING
LEGAL EDUCATION SEMINAR (May 13, 2021).

Moderator, CRIMINAL LAW: UPDATES AND TRENDING ISSUES CONTINUING LEGAL
EDUCATION SEMINAR (November 23, 2021).

BAR ADMISSIONS

{01024634}

Washington State Bar (2015)

United States District Court, Eastern District of Washington (2016)
United States Court of Appeals, Ninth Circuit (2016)

Idaho State Bar (2017)

United States District Court, District of Idaho (2017)

United States District Court, Western District of Washington (2022)
